     Case 1:20-cr-00175-NODJ-BAM Document 91 Filed 10/21/20 Page 1 of 1


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6                               IN THE UNITED STATES DISTRICT COURT
7                            FOR THE EASTERN DISTRICT OF CALIFORNIA
8     UNITED STATES OF AMERICA,                     )     Case №: 1:20-CR-00175-9-DAD
                                                    )
9                      Plaintiff,                   )                    ORDER
                                                    )               APPOINTING COUNSEL
10             vs.                                  )
                                                    )
11    CAROL MADONADO VASQUEZ,                       )
                                                    )
12                     Defendant.                   )
                                                    )
13
               The above named Defendant has, under oath, sworn or affirmed as to her financial
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15    inability to employ counsel or has otherwise satisfied this Court that she is financially unable to

16    obtain counsel and wishes counsel be appointed to represent her. Therefore, in the interests of

17    justice and pursuant to the U.S. CONST., amend VI and 18 U.S.C. § 3006A,
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               IT IS HEREBY ORDERED that Robert C. Lamanuzzi be appointed to represent the
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      above defendant in this case effective nunc pro tunc to October 14, 2020.
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               This appointment shall remain in effect until further order of this court.
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      IT IS SO ORDERED.
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      Dated:     October 20, 2020
24                                                        UNITED STATES MAGISTRATE JUDGE
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